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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

MILTON BUTCH JONES,
                                                     CRIMINAL NO. 01-80571
               Petitioner,                           CIVIL NO. 11-14381

-vs-                                                 HON. JOHN CORBETT O’MEARA

UNITED STATES OF AMERICA,

            Respondent.
_________________________________/


   OPINION AND ORDER GRANTING PETITIONER’S MOTION TO EXPAND THE
   ISSUE AND DENYING PETITIONER’S EXPANDED MOTION TO VACATE, SET
            ASIDE, OR CORRECT SENTENCE UNDER 28 U.S.C § 2255

       Before the court is Petitioner’s October 3, 2011 motion under 28 U.S.C. § 2255 to vacate,

set aside, or correct the sentence of a person in federal custody. Respondent filed a response on

January 24, 2012. Petitioner also filed a motion to expand the issues of breach of plea agreement

and violation of the Speedy Trial Act on May 3, 2012. No oral argument was heard on either

motion. The court will grant his motion to expand the issues and deny his expanded motion to

vacate, set aside, or correct his sentence.

                                     BACKGROUND FACTS

       On or about July 2, 2001, petitioner Milton Jones was charged with multiple offenses,

which included engaging in a continuing criminal enterprise (“CCE”) in violation of 21 U.S.C. §

848(a) and (c). On January 5, 2006, Jones pleaded guilty to a second superseding indictment

CCE charge pursuant to a Rule 11 plea agreement under the Federal Rules of Criminal

Procedure. At the time of the plea, two experienced criminal defense attorneys represented

Jones. Attached to the plea agreement were sentencing guideline worksheets indicating that a
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base offense level of 47 with a criminal history category of V required a life sentence. The plea

agreement also included a cooperation provision that stated the government would recommend a

downward departure to 360 months’ imprisonment and dismiss the other charges in exchange for

substantial assistance in the prosecution of others. Jones and both of his attorneys signed the

plea agreement.

       At Jones’s change-of-plea hearing on January 5, 2006, Jones stated that he was 50 years

old and attended school up to tenth grade. He also indicated that he had both federal and state

GED’s. Jones indicated that he was competent in deciding to plead guilty and understood what

was happening. The government advised Jones of the provisions of the plea agreement which

included the elements of the offense and an agreed upon guideline range.

       During the change-of-plea hearing, Jones testified to selling marijuana with a group of at

least five individuals under his direction. The group, known as the “Dog Pound,” operated in

Detroit from approximately 1995 until 2001. The Dog Pound planned the robberies and

kidnappings of other drug dealers. One robbery involved stealing five kilograms of cocaine from

a drug dealer. Jones also testified that it was reasonably foreseeable to him for purposes of

sentencing guideline calculations that the individuals he directed would commit murder.

       On May 12, 2008, Jones was sentenced to 360 months’ imprisonment, followed by five

years of supervised release. On June 2, 2011, the Sixth Circuit Court of Appeals dismissed

Jones’s direct appeal based on language contained in the plea agreement. Subsequently, on

October 3, 2011, Jones filed this motion to vacate his sentence.

                                    LAW AND ANALYSIS

       Jones lists fourteen different grounds to justify vacating his sentence. He has expanded

upon two of the grounds in his supplemental motion.



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I.     Guilty Plea in Violation of the Speedy Trial Act due to Ineffective Counsel

       According to United States v. Gonzalez-Arimont, 268 F.3d 8, 12 (1st Cir. 2001), “a claim

under the Speedy Trial Act is a nonjurisdictional defense that is waived with an unconditional

guilty plea.”

       Jones claims that he was allowed to plead guilty in violation of the Speedy Trial Act

because his counsel was ineffective. However, Jones did plead guilty; the facts that Jones cites

in support of this claim in both his original motion and supplemental motion do not even address

the ineffectiveness of his two experienced attorneys. Jones instead focuses on the court’s rulings

on continuances, making this claim irrelevant.

II.    Ineffective Counsel Misadvised Preclusion from Appeal

       When the record of the plea hearing reveals that the defendant’s “plea was knowing and

voluntary,” a court need not conduct a hearing if the defendant later challenges the guilty plea in

a 28 U.S.C. § 2255 proceeding. Baker v. United States, 781 F.2d 85, 92 (6th Cir. 1986).

       Here, Jones stated at the plea hearing that he understood the nature of the proceedings

and was competent. Plea Tr. at 11. Furthermore, the court informed Jones that he had a right to

a speedy and public trial. Id. Despite this, Jones on two separate occasions, both at the pleading

and sentencing, indicated that he understood his rights and wished to waive them. Id. at 12.

Regardless, this makes the claim that his counsel was ineffective irrelevant, since Jones entered

the plea knowingly and voluntarily.

III.   Constitutionally Ineffective Counsel Regarding Procedural and Substantive Process

       A claim of ineffective counsel is governed by a two-pronged “performance and

prejudice” test by the reviewing court. Strickland v. Washington, 466 U.S. 668 (1984). First,

the defendant must show that counsel made serious performance errors, violating the defendant’s



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guarantee of counsel under the Sixth Amendment. Id. at 687. Second, the defendant must show

that the deficient performance prejudiced the defense, depriving the defendant of a fair and

reliable trial. Id.

        Jones claims that his counsel was ineffective because counsel advised him that he could

appeal the reasonableness of his sentence despite an appeal waiver provision in the plea

agreement. The plea agreement specifically said that if the court does not exceed the top of the

range within the agreement, “defendant waives any right he may have to appeal his conviction or

sentence.” Plea Agreement at 11, ¶ 6. Jones’s attorney advised him that the agreement gave him

“the right to appeal any sentence that is in excess of 360 months.” Plea Tr. 20. The court

sentenced him to 360 months. Here, Jones cannot satisfy the prejudice prong under Strickland,

466 U.S. at 687. The court explained the issues; and Jones established that he understood the

proceedings, waiving his right to trial by pleading guilty.

IV.     Mandatory Sentencing Guidelines

        Claims of erroneous application of the guidelines are generally precluded from collateral

review unless there is a violation of due process. See Grant v. United States, 72 F.3d 503 (6th

Cir. 1996). In Grant, the court said that “nonconstitutional errors, such as mistakes in the

application of the sentencing guidelines, will rarely, if ever, warrant relief from the consequences

of waiver.” Id. at 506. Collateral relief is appropriate only when there is a fundamental

unfairness or breakdown of the trial process. Id.

        Jones argues that the district court’s comments at sentencing demonstrate that the court

treated the sentencing guidelines as mandatory as opposed to advisory, but Jones fails to identify

anything that supports this claim. There is nothing to suggest that anything was fundamentally

unfair. Here the court was mindful of the 18 U.S.C. § 3553(a) sentencing factors, which address



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individualized treatment of defendants. Sentencing Tr. 37. The court acknowledged the

difficulty in determining an appropriate sentence and even cited cases which addressed the

advisory nature of the sentencing guidelines. Id. at 36-37.

V.     Constitutionally Ineffective Counsel in Preserving Right to Appeal

       This analysis is similar to Jones’s claim in Section II. Jones stated at the plea hearing that

he understood the nature of the proceedings and was competent. Plea Tr. 11. Furthermore, the

district court informed Jones that he had a right to a speedy and public trial. Id. Despite this,

Jones on two separate occasions, both at the pleading and sentencing, indicated that he

understood his rights and wished to waive them. Id. at 12. Regardless, this makes the claim that

his counsel was ineffective irrelevant, since Jones entered the plea knowingly and voluntarily.

VI.    Failing to Depart for Cooperation

       A court may depart from sentencing guidelines upon motion of the government stating

that a defendant has provided substantial assistance in the investigation or prosecution of another

person who has committed an offense. U.S.S.G. § 5K1.1. The reason for a reduction may

include, but is not limited to, factors such as the significance and usefulness of defendant’s

assistance, truthfulness, nature and extent of assistance, injury suffered or risk of injury, and

timeliness. Id.

       Jones states in his motion that the district court did not take into account the full scope of

his cooperation, violating his right to due process. To support this allegation, Jones cites the

sentencing transcript and states in reference to an Assistant U.S. Attorney with whom he

cooperated, “[The efforts that] Mr. Haugabuck is handling have not come to fruition as yet. So

it’s really nothing that can be taken into consideration.” Sentencing Tr. 27. However, this

supporting fact does not provide the full context. The full transcript states, “So it’s really



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nothing that can be taken into consideration, but he did nonetheless cooperate. I was there when

Mr. Jones was debriefed by Mr. Haugabuck. He was helpful.” Id. This statement established

the fact that Jones was in compliance with his plea agreement, which required his continuing

cooperation between the time of his plea and the time of sentencing. Jones received the full

benefit of his contractual bargain with the government; he received 360 months instead of a life

sentence. Additionally, the government dropped the remaining charges and refrained from

seeking the death penalty. Id.

VII.      Departure Guidelines

          Claims of erroneous application of the guidelines are generally precluded from collateral

review unless there is a violation of due process. See Grant, 72 F.3d at 506. In the absence of

“highly exceptional circumstances,” a defendant is precluded from re-litigating the issues.

DuPont v. United States, 76 F.3d 108, 110 (6th Cir. 1996).

          Jones argues that the district court was not aware or did not understand its discretion to

make a departure from the guidelines above a level 43 offense. Jones argues that the government

erroneously argued to the district court that his offense level was 47. Jones says that an offense

level of more than 43 is to be treated as 43. However, the court entered a sealed order overruling

these objections on March 31, 2008, following an extensive hearing. Here, there is nothing to

suggest that this is a highly exceptional circumstance. Id.

VIII. Procedural Error in Determining Base Level Offense

          This issue is without merit. The district court explained the reasoning behind an offense

level of 43 in its sealed order of March 31, 2008, overruling objections to the Presentence

Report.




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IX.    Correct Edition of the Sentencing Guidelines

       First degree murder is a level 43 offense. USSG § 2A1.1. Second degree murder is a

level 38 offense. USSG § 2A1.2. A Continuing Criminal Enterprise (CCE) that involves a

victim who is killed is governed by USSG § 2D1.1. Amendment No. 684, effective November

1, 2006, amended § 2D1.1(d)(1) to read “apply § 2A1.1 (First Degree Murder) or § 2A1.2

(Second Degree Murder), as appropriate, if the resulting offense level is greater than that

determined under this guideline.” (emphasis added).

       Jones argues that the district court committed reversible error for using the 2001 and not

the 2008 edition of the sentencing guidelines because of Amendment No. 684. However, this is

based on a misreading of Amendment No. 684. The Amendment preserves the distinction

between first and second degree murder for sentencing purposes. Jones accepted responsibility

for the intentional murders of two individuals as being reasonable consequences of acts

committed by others acting under his direction for sentencing guidelines purposes. Plea Tr. 25-

26. Here a level 43 offense is appropriate for sentence calculation.

X.     Numerous Errors in Calculating Sentencing Guidelines.

       Claims of erroneous application of the guidelines are generally precluded from collateral

review unless there is a violation of due process. See Grant, 72 F.3d at 506. In the absence of

“highly exceptional circumstances,” a defendant is precluded from re-litigating the issues.

DuPont, 76 F.3d at 110.

       Jones argues that the district court made numerous errors in calculating his base offense

level, similar to his argument in Section VII. However, the court entered a sealed order

overruling these objections on March 31, 2008, following an extensive hearing. Here, there is

nothing to suggest that this is a highly exceptional circumstance. Id.



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XI.      Breach of Plea Agreement

         Unless a prosecutor refuses to file a substantial-assistance motion because of

unconstitutional considerations such as race or religion, a challenge cannot be sustained. See

Wade v. United States, 504 U.S. 181, 186 (1992).

         Jones argues that the government breached the plea agreement by failing to consider his

cooperation during and after sentencing. This issue is identical to Section VI. Jones has made

no showing of an unconstitutional consideration.

XII.     Cocaine Distribution

         In the absence of “highly exceptional circumstances,” a defendant is precluded from re-

litigating the issues. DuPont, 76 F.3d at 110.

         Jones argues that the district court should not have considered five kilograms of cocaine

as relevant conduct because he took responsibility only for marijuana in the CCE. Jones’s

challenges to the computation of the sentencing guidelines have already been the subject of

appellate review. United States v. Jones, No., 08-1658 at 10-12. Jones testified that he directed

the activities of several others in the “Dog Pound.” Plea Tr. 24-25. One occasion involved a

robbery of five kilograms of cocaine from rival drug dealers. Id. Jones conceded this activity

was reasonably foreseeable and is appropriate for sentencing guidelines purposes. Id. Therefore,

it was appropriate to consider cocaine for sentencing purposes.

XIII. Individualized Conspiracy Findings

         Jones argues that the district court failed to make individualized findings for each

member of the conspiracy regarding the scope of the conspiracy. Jones accepted as reasonably

foreseeable the actions of others whom he directed in criminal activity. Id. This claim is without

merit.



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XIV. Improper Calculation of Criminal History

       A presentence report must calculate the defendant’s offense level and criminal history

category. Fed R. Crim. P. 32.

       Jones argues that the district court improperly calculated his criminal history by including

a prior 1975 state court conviction, adding two points for Jones’s commission of the offense

while on supervised release, adding a 2 level increase for restraint of a victim, and using the

disputed information without making the requisite findings under Rule 32. However, on March

31, 2008, the district court entered a sealed Opinion and Order Addressing Defendant’s

Objections to the Presentence Report, which included the court’s findings regarding the disputed

portions. The court therefore complied with the provisions of Rule 32.

                                             ORDER

       It is hereby ORDERED that Petitioner’s motion to expand the issues is GRANTED. It

is further ORDERED that Petitioner’s motion and expanded motion to vacate, set aside, or

correct sentence under 28 U.S.C. § 2255 are DENIED.



Date: August 14, 2012                                 s/John Corbett O’Meara
                                                      United States District Judge




        I hereby certify that on August 14, 2012 a copy of this order was served upon the parties
of record using the ECF system and/or by first-class U.S. mail.


                                                      s/William Barkholz
                                                      Case Manager




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